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                 United States Court of Appeals
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT




 No. 23-5044                                             September Term, 2022
                                                         FILED ON: JULY 18, 2023

 IN RE: SEALED CASE


                         Appeal from the United States District Court
                                 for the District of Columbia
                                     (No. 1:23-sc-00031)


        Before: PILLARD, CHILDS and PAN, Circuit Judges

                                      JUDGMENT
         This cause came on to be heard on the record on appeal from the United States
 District Court for the District of Columbia and was argued by counsel. On consideration
 thereof, it is

         ORDERED and ADJUDGED that the judgment of the District Court appealed
 from in this cause be affirmed in all respects, in accordance with the opinion of the court
 filed herein this date.

                                         Per Curiam


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                       BY:    /s/

                                                              Daniel J. Reidy
                                                              Deputy Clerk


 Date: July 18, 2023

 Opinion for the court filed by Circuit Judge Pan.
